                                     Case: 24-2606, 10/08/2024, DktEntry: 15.1, Page 1 of 3

                                     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                     Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                        MOTION INFORMATION STATEMENT

Docket Number(s): 24-2606                                                                         Caption [use short title]

Motion for: To seal portions of motion




Set forth below precise, complete statement of relief sought:
Appellant requests leave to file his motion under seal with
                                                                                               United States v. Combs
partial redactions.




MOVING PARTY: Appellant Sean Combs                                     OPPOSING PARTY: United States of America

              Plaintiff                     Defendant

              Appellant/Petitioner       Appellee/Respondent

MOVING ATTORNEY: Alexandra A.E. Shapiro                   OPPOSING ATTORNEY: Mary Christine Slavik
                        [name of attorney, with firm, address, phone number and e-mail]
Shapiro Arato Bach LLP                                                   United States Attorney's Office, SDNY
1140 6th Ave, 17th Fl., New York, NY 10036                              26 Federal Plaza, New York, NY 10278
(212) 257-4880; ashapiro@shapiroarato.com                               (212) 637-1113; mary.slavik@usdoj.gov

Court- Judge/ Agency appealed from: Hon. Andrew L. Carter / U.S. District Court for the Southern District of New York

Please check appropriate boxes:                                            FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                           INJUCTIONS PENDING APPEAL:
 Has movant notified opposing counsel (required by Local Rule 27.1):        Has this request for relief been made below?          Yes No
             Yes       No (explain):                                        Has this relief been previously sought in this court? Yes No

                                                                            Requested return date and explanation of emergency:

Opposing counsel’s position on motion:
            Unopposed        Opposed      Don’t Know
Does opposing counsel intend to file a response:
             Yes      _No       Don’t Know



Is the oral argument on motion requested?               Yes     No (requests for oral argument will not necessarily be granted)


Has the appeal argument date been set?                  Yes     No If yes, enter date:


Signature of Moving Attorney:
 /s/ Alexandra A.E. Shapiro                   Date: October 8, 2024             Service :     Electronic        Other [Attach proof of service]

Form T-1080 (rev. 10-23)
                Case: 24-2606, 10/08/2024, DktEntry: 15.1, Page 2 of 3




                    UNITED STATES COURT OF APPEALS
                        FOR THE SECOND CIRCUIT


 UNITED STATES OF AMERICA,
                                                         No. 24-2606-cr
                  Appellee,
                                                    DECLARATION OF
 v.                                             ALEXANDRA A.E. SHAPIRO
                                                 IN SUPPORT OF MOTION
 SEAN COMBS,                                   OF DEFENDANT-APPELLANT
                                                     TO SEAL BRIEF
                  Defendant-Appellant.


      Alexandra A.E. Shapiro, pursuant to 28 U.S.C. § 1746, declares as follows:

      1.     I am an attorney admitted to practice before this Court. I am a partner

at Shapiro Arato Bach LLP, attorneys for Appellant Sean Combs in this appeal. I

submit this declaration in support of Mr. Combs’ motion to file under seal with

partial redactions his motion for pre-trial release on conditions.

      2.     This is an appeal from the district court’s order denying pre-trial

release on conditions and ordering Mr. Combs detained pending trial. On October

7, 2024, the district court entered a Protective Order governing discovery in the

district court proceedings. See Protective Order, United States v. Combs, 24-cr-

542 (AS) (S.D.N.Y.), ECF 26.

      3.     Mr. Combs’ motion for pre-trial release on conditions includes a

reference to information that was produced by the government with an “Attorney’s

Possession Only” designation as described in the Protective Order. The Protective
                                           1
                Case: 24-2606, 10/08/2024, DktEntry: 15.1, Page 3 of 3




Order provides that in the event either party wishes to include such material in a

public filing, the party must file the material under seal absent agreement from the

opposing party that such restriction may be lifted.

      4.     Given the obligations imposed by the district court’s Protective Order,

Mr. Combs is filing a public version of his motion for pre-trial release on

conditions with partial redactions and an unredacted copy under seal pending

determination of this motion.

      5.     We contacted the prosecutors to request their position on this motion,

but they have not yet responded.

      I declare under penalty of perjury that the foregoing is true and correct.


Dated: New York, NY
       October 8, 2024                                /s/Alexandra A.E. Shapiro
                                                      Alexandra A.E. Shapiro




                                          2
